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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                                2:09-cv-04414-SDW-LDW


     IN RE: ZIMMER DUROM HIP CUP
     PRODUCTS LIABILITY LITIGATION                                      MDL-2158




                                      This Document Relates to:


                     Virginia Larry v. Zimmer, Inc., et al; Case No. 2:17-cv-04829


                                  ZIMMER DEFENDANTS’
                             MOTION FOR ORDER TO SHOW CAUSE

          Defendants Zimmer, Inc., and Zimmer Holdings, Inc. (collectively “Zimmer”),

   respectfully move this Court for the entry of an order directing the plaintiff, Virginia Larry

   (“Plaintiff”), to present evidence that she was implanted with a Durom Cup and to show cause why

   these actions should not be dismissed without prejudice. In support of this Motion, Zimmer states

   as follows:

          1.      On June 9, 2010, the Judicial Panel on Multidistrict Litigation centralized the

   then-pending Durom Cup cases in the District of New Jersey, styled as In re: Zimmer Durom

   Hip Cup Products Liability Litigation, MDL 2158 (the “MDL”). (Transfer Order (June 9, 2010),

   attached as Exhibit 1).

          2.      According to the Transfer Order, the common issues in the MDL are “whether

   Zimmer’s Durom Acetabular Component (or Durom Cup), a device used in hip replacement

   surgery, was defectively designed and/or manufactured, and whether Zimmer failed to provide
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   adequate warnings concerning the device.” (Id. at 1-2). Accordingly, a fundamental prerequisite

   to participating in this MDL is the implantation of a Durom Cup.

              3.       Paragraph 23 of Plaintiff’s Complaint alleges that Plaintiff was implanted with the

   Durom Cup on June 15, 2015.1 (Plaintiff’s Complaint at ¶ 23, attached as Exhibit 2).

              4.       However, Zimmer stopped selling the Durom Cup in 2010 and, thus, the Durom

   Cup was no longer available for orthopedic surgeons to implant in 2015. Based on the alleged

   implant date, Zimmer does not believe that a Durom Cup was implanted in Plaintiff’s hip.

              5.       To confirm that belief, Zimmer requested from Plaintiff’s counsel product

   identification and the required medical records under the Durom Cup Global Settlement Program

   on February 14, 2019, March 3, 2019, March 19, 2019, April 17, 2019, and May 20, 2019. No

   product identification or medical records have been provided.

              6.       This Court has the authority to manage individual cases in the MDL like any other

   case. In re FMC Corporation Patent Litigation 422 F. Supp. 1163, 1165 (J.P.M.L. 1976)

   (“following a transfer [under Section 1407], the transferee judge has all the jurisdiction and

   powers over pretrial proceedings in the actions transferred to him that the transferor judge would

   have had in the absence of the transfer.”).

              7.       Because Plaintiff has not provided proof that she was implanted with a Durom

   Cup, Zimmer respectfully requests that the Court enter an order requiring Plaintiff to present

   evidence that she was implanted with a Durom Cup and to show cause why her case should not

   be dismissed without prejudice.

              WHEREFORE, Zimmer respectfully requests this Court to issue an order to show cause

   why Plaintiff’s case should not be dismissed without prejudice.



   1
       Plaintiff’s Complaint was filed on June 29, 2017, but never served on Zimmer.

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   Dated: May 23, 2019               Respectfully submitted,

                                     FAEGRE BAKER DANIELS LLP


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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing document has been served upon all
   counsel of record via ECF, this 23rd day of May, 2019.


                                     /s/ John Joseph Tanner




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